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defined for purposes of bringing an action under 28 U.S.C. § 2255, ;,e.,one year and 90 days after

any judgment of conviction is affirmed or reversed by the Court of Appeals for the Second Circuit.

If Protected Material or Highly Protected Material is provided to any prospective witness,counsel

shall make reasonable efforts to seek the return or destruction of such materials.

       11. This Order places no restriction on a defendant's use or disclosure of ESI that originally

belonged to that defendant.

                                    Retention of Jurisdiction
       12. The provisions of this Order shall not terminate at the conclusion of this case and the

Comi shall retain jurisdiction to enforce this Order following termination of the case.


AGREED AND CONSENTED TO:

   DAMIAN WILLIAMS
   United States Attorney


                                                             Date:
                 ckard
   Matthew ,     Hellman
   Jacob H. Gutwillig
   Assistant United States Attorneys



                     :....-----
                      ,Esq.
                    lid Mehdiyev


SO ORDERED:

Dated: New York,New York
       September ___,2022


                                                 HONORABLE COLLEEN McMAHON
                                                 UNITED STATES DISTRICT JUDGE
                                                 SOUTHERN DISTRICT OF NEW YORK
